      Case 2:17-cr-00033-MHT-WC Document 65 Filed 10/03/17 Page 1 of 8




     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA             )
                                     )         CIVIL ACTION NO.
       v.                            )           2:17cr33-MHT
                                     )               (WO)
WILLIAM EDWARD ROBINSON              )
and SANDRA WRIGHT TAYLOR             )

                 PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, the United States of America gave notice

to defendants William Edward Robinson and Sandra Wright

Taylor in the superseding indictment (doc. no. 23) that

it would seek the forfeiture of all property used or

intended to be used in any manner or part to commit and

to    facilitate      the    commission       of   the     offenses      in

violation of 18 U.S.C. §§ 922(g)(1), 924(c)(1)(A)(i),

1029(a)(4), and 1029(c)(1)(A)(ii); 21 U.S.C. §§ 841,

843(b), 846, and 856(a); and 26 U.S.C. §§ 5841, 5861(d)

and 5871; and,

      WHEREAS, defendants consent to the entry of this

preliminary order of forfeiture;
      Case 2:17-cr-00033-MHT-WC Document 65 Filed 10/03/17 Page 2 of 8




      It is hereby ORDERED that the government’s motion

for a preliminary order of forfeiture (doc. no. 64) is

granted as follows:

      1.    As a result of the guilty plea on Counts 1 and

5 through 9 of the superseding indictment, defendant

William     Edward    Robinson      shall    forfeit         to   the    United

States,     pursuant      to   21   U.S.C.       §    853,    all    property

constituting         or   derived         from       proceeds       defendant

obtained directly or indirectly as a result of the said

violation, and any and all property used or intended to

be   used    in    any    manner     or    part       to   commit       and   to

facilitate the commission of the offenses in violation

of 21 U.S.C. §§ 843(b), 846, and 856(a); 18 U.S.C. §§

922(g)(1),       1029(a)(4),     and      1029(c)(1)(a)(ii);            and   26

U.S.C. §§ 5841, 5861(d), and 5871.

      2.    As a result of the guilty plea on Counts 1 and

8    of    the    superseding       indictment,        defendant         Sandra

Wright     Taylor     shall    forfeit      to       the   United       States,

pursuant to 21 U.S.C. § 853, all property constituting

or derived from proceeds defendant obtained directly or

                                     2
      Case 2:17-cr-00033-MHT-WC Document 65 Filed 10/03/17 Page 3 of 8




indirectly as a result of the said violation, and any

and all property used or intended to be used in any

manner     or    part      to   commit     and    to     facilitate      the

commission of the offenses in violation of 21 U.S.C. §§

843(b),     846,    and     856(a);       18   U.S.C.     §§    922(g)(1),

1029(a)(4), and 1029 (c)(1)(a)(ii); and 26 U.S.C. §§

5841, 5861(d), and 5871.

      3.   The     court    has   determined      that    the    following

property is subject to forfeiture pursuant to 21 U.S.C.

§ 853; that the defendants have an interest in such

property; and, that the United States has established

the   requisite      nexus      between    such   property       and     such

offenses:

           (a) Taurus,  model  PT709   Slim,                    9mm    semi-
           automatic pistol, sn: TGN21101;

           (b) AMT, model Back Up, .380                   caliber      semi-
           automatic pistol, sn: C02169;

           (c) Browning,    model   Baby,                 6.35mm       semi-
           automatic pistol, sn: 51025;

           (d) U.S. Revolver Company (Iver Johnson),
           model Double Action, .32 caliber revolver, sn:
           15472;


                                      3
Case 2:17-cr-00033-MHT-WC Document 65 Filed 10/03/17 Page 4 of 8




     (e) Colt, model Third                Model,    .41      caliber
     derringer, sn: 15221;

     (f) CBC,   model   715T,   .22   caliber                    semi-
     automatic rifle, sn: EMB3656228;

     (g) Mauser, model MM 410B, .22 caliber semi-
     automatic rifle, sn: 206345;

     (h) Hamilton Rifle Company,                  model    27,     .22
     caliber rifle, sn: none;

     (i) U.S. Carbine, model M1, .30 caliber semi-
     automatic rifle, sn: 427516;

     (j) Arisaka, model            Type    99,     7.7mm     caliber
     rifle, sn: 5993;

     (k) Remington Arms Company, Inc., model Nylon
     66, .22 caliber semi- automatic  rifle,   sn:
     2113083;

     (l) High Standard, model Riot 18-7, 12-gauge
     shotgun, sn: none;

     (m) Ruger, model 10/22, .22                   caliber       semi-
     automatic rifle, sn: 828-46763;

     (n) Pietta, model Bantam, .22 caliber rifle,
     sn: 1735;

     (o) Savage, model Stevens               12    Marksman,       .22
     caliber rifle, sn: F240;

     (p) Eclipse Gun Company, model                 unknown,       12-
     gauge shotgun, sn: 171411;

     (q) Central Arms Company (Shapleighs), model
     unknown, 12-gauge shotgun,  sn: 178945;

                               4
     Case 2:17-cr-00033-MHT-WC Document 65 Filed 10/03/17 Page 5 of 8




           (r) STEN-type machinegun, sn: none;

           (s) STEN-type machinegun receiver, sn: U97997;

           (t) STEN-type frame, sn: none; and,

           (u) Miscellaneous ammunition.

     3.    Upon the entry of this order, the United States

Attorney      General        is    authorized         to     seize      the

above-listed property and conduct any discovery proper

in identifying, locating or disposing of the property

subject to forfeiture, in accordance with Federal Rule

of Criminal Procedure 32.2(b)(3).

     4.    Upon entry of this order, the United States

Attorney     General        is    authorized     to        commence     any

applicable proceeding to comply with statutes governing

third-party       rights,    including     giving     notice    of      this

order.

     5.    The United States shall publish notice of the

order and its intent to dispose of the property in such

a   manner   as    the   United    States    Attorney       General      may

direct.      The United States may also, to the extent


                                    5
    Case 2:17-cr-00033-MHT-WC Document 65 Filed 10/03/17 Page 6 of 8




practicable, provide written notice to any person known

to have an alleged interest in the subject property.

    6.     Any   person,       other     than      the    above-named

defendants, asserting a legal interest in the subject

property    may,     within     thirty      days     of    the    final

publication of notice or receipt of notice, whichever

is earlier, petition the court for a hearing without a

jury to adjudicate the validity of his alleged interest

in the subject property, and for an amendment of the

order of forfeiture, pursuant to 28 U.S.C. § 2461(c),

which incorporates 21 U.S.C. § 853(n)(6).

    7.     Any petition filed by a third party asserting

an interest in the subject property shall be signed by

the petitioner under penalty of perjury and shall set

forth the nature and extent of the petitioner’s right,

title, or interest in the subject property, the time

and circumstances of the petitioner’s acquisition of

the right, title or interest in the subject property,

and any additional facts supporting the petitioner’s

claim and the relief sought.

                                   6
    Case 2:17-cr-00033-MHT-WC Document 65 Filed 10/03/17 Page 7 of 8




    8.   After the disposition of any motion filed under

Federal Rule of Criminal Procedure 32.2(c)(1)(A) and

before   a   hearing       on    the   petition,        discovery     may   be

conducted in accordance with the Federal Rules of Civil

Procedure    upon      a    showing          that   such        discovery   is

necessary or desirable to resolve factual issues.

    9.   The United States shall have clear title to the

subject property following the court’s disposition of

all third-party interests, or, if no such petitions are

filed, following the expiration of the period provided

in 21 U.S.C. § 853(n)(2), which is incorporated by 28

U.S.C.   §    2461(c),          for    the     filing      of     third-party

petitions.

    10. The court shall retain jurisdiction to enforce

this order and to amend it as necessary pursuant to

Federal Rule of Criminal Procedure 32.2(e).

    11. It is further ORDERED that the clerk of the

court shall note entry of this order in writing on the

Judgment in a Criminal Case and forward a certified



                                       7
       Case 2:17-cr-00033-MHT-WC Document 65 Filed 10/03/17 Page 8 of 8




copy     of   this   order    to   the    United    States     Attorney’s

Office.

       DONE, this the 3rd day of October, 2017.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
